
Staples and Burks, J’s,
concurred in the decree; but were not prepared to say that inadequacy of price was *482not sufficient to set aside a judicial sale. They had not considered that question, and it was unnecessary to decide-it in this case.
The decree was as follows:
The court, having maturely considered the record in this cause, is of opinion, for reasons stated in writing and filed with the record, that the sale of the tract of land in the bill and pi’oeeedings mentioned, made on the 21st day of August, 1871, and reported to the circuit court of Culpeper county by James W. Green and L. E. Williams, commissioners, at the Eovember term of said court, was. a valid sale, and ought to have been confirmed, and that the decree of the said court of the 17th of November,, 1871, setting it aside, and directing it to be exposed to-sale again, and all the subsequent decrees and proceedings of said court based upon said erroneous decree were likewise erroneous; it is, therefore, ordered and decreed that the same be reversed, set aside and annulled, and that the appellees pay to the appellant his costs expended in the prosecution of his appeal here; and the causéis, remanded to» the said circuit court, with instructions to-confirm the said sale of the 21st of August, 1871, and the report thereof made by the said Green and Williams, commissioners, and for such other and further proceedings as may be necessary and proper for the execution of said sale, and for the final decision of the cause in conformity with this order and the opinion of this court.
Decree reversed,
